                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                3:20CV537-GCM

In re:                                    )
                                          )                Chapter 11
KAISER GYPSUM COMPANY, INC., et al.,      )                Case No: 16-31602 (JCW)
                                          )                (Jointly Administered)
      Debtors.                            )
__________________________________________)



        This matter is before the Court upon its own motion. A hearing will be scheduled on June
25, 2021, at 10:00 a.m. regarding the bankruptcy court’s Proposed Findings and Conclusions, the
Proposed Confirmation Order, and Truck’s objections in this case. Due to the District Court’s
imminent move to the new annex building, the Court is unable to schedule this hearing for a
specific courtroom. The Parties will be informed as soon as such courtroom is secured.
         IT IS SO ORDERED.



                               Signed: March 31, 2021




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